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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION

 In the Matter of the Petition

                of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,
                                                          Docket No. JKB 24-cv-941
                and
                                                          IN ADMIRALTY
 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of
 Liability


              CLAIM BY MAYOR AND CITY COUNCIL OF BALTIMORE
                PURSUANT TO SUPPLMENTAL FEDERAL RULE F(5)
                  IN RELATION TO THE KEY BRIDGE ALLISION

       Specifically reserving all rights and defenses asserted in Claimant’s accompanying Answer

to the Petitioners’ “Petition for Exoneration from or Limitation of Liability,” Claimant, MAYOR

AND CITY COUNCIL OF BALTIMORE (“Baltimore” or “City of Baltimore”), hereby demands

a jury trial and makes this claim pursuant to Rule F(5) of the Supplemental Rules for Admiralty or

Maritime Claims against Petitioners, GRACE OCEAN PRIVATE LIMITED and SYNERGY

MARINE PTE LTD, as alleged owner and manager of the vessel M/V DALI (the “DALI”) and in

support thereof avers as follows:

                                       INTRODUCTION

       1.      There were no high winds, visual obstructions, or any reason to believe disaster was

about to occur when, at 12:45am, local time, on March 26, 2024, the container ship Dali left its

dock in the Port of Baltimore, and began sailing toward the Chesapeake Bay.
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          2.     The path the Dali was to take—down the wide Patapsco River, under the 1.6 mile

expanse of the Francis Scott Key Bridge (the “Key Bridge”), and out to the Chesapeake Bay, was

one that thousands of large container ships had taken before without incident. Every year, ocean

carriers pay approximately 1,800 discrete calls to the Port of Baltimore.1 On each such visit, they

enter the Port by going underneath the Key Bridge, and leave the Port the same way, meaning that

boats pass under the Key Bridge approximately 3,600 times each and every year. Before March

26, 2024, no ship had struck the Key Bridge in over 40 years.

          3.     The Port of Baltimore was, until March 26, 2024, one of the busiest ports in the

United States. It was a top-twenty United States port, as measured by total tonnage, the tenth

largest United States port for dry bulk, and a major hub for the import and export of motorized

vehicles.

          4.     The Port of Baltimore was no stranger to large freighters like the Dali.

          5.     According to a March 13, 2024 analysis entitled The 2023 Economic Impact Of

The Port Of Baltimore In Maryland and prepared for the Maryland Department of Transportation,

in 2023 the Baltimore Port District handled 55.5 million tons (or 111 billion pounds) of

international and domestic cargo for exporters and importers located within the State of Maryland

as well as across the United States.2 Tens of thousands of jobs rely directly on the Port. Those

employed in the Port spend money on local Baltimore businesses, creating yet more jobs. All of

these jobs, goods, and commercial flows contribute to substantial tax revenues collected and relied

upon by the City of Baltimore.



1
    https://msa.maryland.gov/msa/mdmanual/01glance/html/port.html
2
 The 2023 Economic Impact Of The Port of Baltimore Maryland, Prepared for the Maryland Port
Administration, available at
https://mpa.maryland.gov/Documents/MarylandEconomicimpactofPOB2023.pdf

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          6.   Recent estimates indicate that the Port of Baltimore generated more than $70 billion

of economic value in 2023 alone, including billions of dollars in yearly tax revenue for government

entities, including the City of Baltimore.3 It is difficult to overestimate the Port’s import to the

local economy. It was a reliable constant—an economic engine in a region that has been subject

to more than its share of hardship.

          7.   Indeed, the Port of Baltimore has been an important part of the region’s economy

since before the founding of the United States. It has been a designated point of entry since 1706,

and a trade center that ultimately supported funding for the Revolutionary War. The City of

Baltimore grew up around the Port, and has, since its founding, drawn on the Port as its economic

heart. Throughout that history, the region has required transport to, through, around, over, and

under the Port to ensure the continuing flow of transportation and commerce, and the growth and

success of the City of Baltimore itself. For example, the Baltimore Harbor Tunnel opened in 1957,

but when it reached vehicle capacity, other solutions were required. In 1976, the Key Bridge was

completed. At the time of its completion, the Key Bridge was the third longest continuous truss

bridge in the world—a 1.6 mile structure, connecting Baltimore County with Hawkins Point in

Baltimore City, built to benefit Baltimore and its environs.

          8.   But the economic engine would grind to a halt on March 26, 2024. Approximately

twelve minutes after leaving its dock, the Dali began to make a large arc, turning toward the Key

Bridge. Reporting has indicated that at approximately 1:24am, local time, the Dali’s onboard data

recorder—obtained by the National Transportation Safety Board (“NTSB”)—recorded audio from




3
    Id.

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the boat indicating “numerous aural alarms.” The onboard data recorder briefly stopped recording,

and then turned on again, using the ship’s redundant power source.4

        9.      Video shows what occurred: the Dali, only minutes after leaving port, suddenly lost

power at about 1:25am, local time. Adrift, and moving at approximately seven knots, with no

sufficient power to steer, it sluiced its way toward the Key Bridge.

        10.     At approximately 1:28am, local time, the Dali slammed into the bridge, causing the

bridge’s immediate collapse, killing at least six individuals, destroying Baltimore property, and

bringing the region’s primary economic engine to a grinding halt. The impact of this disaster will

be felt for years, and indeed, for the rest of the lives of the families of the people killed as a result

of Petitioners’ conduct.

        11.     None of this should have happened. Reporting has indicated that, even before

leaving port, alarms showing an inconsistent power supply on the Dali had sounded. The Dali left

port anyway, despite its clearly unseaworthy condition.

        12.     For more than four decades, cargo ships made thousands of trips every year under

the Key Bridge without incident. There was nothing about March 26, 2024 that should have

changed that. But Petitioners, Grace Ocean Private Limited and Synergy Marine Pte Ltd saw fit to

put a clearly unseaworthy vessel into the water. Petitioners’ actions were grossly and potentially

criminally negligent. In no way should their liability be limited.

                                              PARTIES

        13.     Claimant, Mayor and the City Council of Baltimore, files on behalf of the City of

Baltimore, the most populous city in the State of Maryland, and a municipal corporation organized



4
 https://www.cbsnews.com/news/francis-scott-key-bridge-collapse-timeline-911-call-dali-cargo-ship-
mayday-maps-construction-worker-recovery/

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pursuant to Articles XI and XI-A of the Maryland Constitution and entrusted with all of the powers

of local self-government and home rule afforded by those articles.

          14.      Article I, Section 1 of the Charter of Baltimore City empowers the Claimant with

the power to sue on behalf of the people of Baltimore. Baltimore Charter, Art. I, § 1. Further, the

Claimant has the full power and authority to exercise all of the powers granted to it by the

Constitution of Maryland or by any Public General or Public Local Laws of the State of Maryland.

          15.      Pursuant to these powers, Claimant has passed ordinances and laws for the

protection of the general welfare of the inhabitants of Baltimore; for the environmental protection

of the Patapsco River, the Baltimore harbor, and surrounding environs; for the prevention and

removal of public nuisances5; for the regulation of traffic; for the maintenance and repair of roads,

bridges, and highways; and for many other purposes.

          16.      Upon information and belief, Petitioner Grace Ocean Private Limited (“Grace”) is

a corporation organized and existing under the laws of Singapore with its registered office in

Singapore, and was the registered owner of the M/V DALI (the “Dali” or the “Vessel”) at all times

relevant hereto.

          17.      Upon information and belief, Synergy Marine Pte Ltd (“Synergy”) is a corporation

organized and existing under the laws of Singapore with its registered office in Singapore and was

the manager of the Vessel. Upon information and belief, Synergy was responsible for, among other

things, manning and victualing the Vessel; procuring and providing deck, engine, and cabin stores;

maintenance and repairs of the Vessel’s hull and machinery; provisioning of spare parts,

maintenance and repairs for the Vessel; and communicating with Owner and the Vessel’s time

charterers at all times relevant hereto.


5
    Charter of Baltimore City, Art. II § 11(a).

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                                  JURISDICTION AND VENUE

        18.     The incident that gave rise to this claim occurred upon the navigable waters of the

United States within the territorial waters of the State of Maryland, had an actual and potential

impact on maritime commerce, involved a traditional maritime activity, and is subject to admiralty

tort jurisdiction, pursuant to Fed. R. Civ. P. 9(h).

        19.     This action is within the Court’s admiralty and maritime jurisdiction, pursuant to

U.S. Constitution Article 3, Section 2, and 28 U.S.C. § 1333, and is brought pursuant to the

Supplemental Rules for Admiralty and Maritime Claims.

        20.     In addition, this action is within this Court’s diversity jurisdiction pursuant to

28 U.S.C. § 1332, because the parties are in complete diversity, and the amount in controversy

exceeds $75,000.

        21.     Venue is appropriate in this district pursuant to 28 U.S. Code § 1391(b)(2), because

a substantial part of the events or omissions giving rise to the claim occurred in this district, and a

substantial part of property that is the subject of the action, including the Vessel, is situated in this

district.

                                   FACTUAL ALLEGATIONS

A.      The Francis Scott Key Bridge Is Built To Connect Baltimore City to Baltimore County

        22.     Scholars believe that the Key Bridge was located less than 100 yards from the site

where its namesake, Francis Scott Key, witnessed the failed British bombardment of Fort McHenry

in September 1814, during the War of 1812. Upon seeing the flag rise the next morning, Key was

said to have written the “Defense of Fort McHenry,” a poem better known by its current name: the

“Star-Spangled Banner.”




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        23.     The Key Bridge was constructed between 1972 and 1977 to ease the substantial

traffic going into and out of the City of Baltimore, and to allow for the transportation of so-called

“hazardous materials,” which were not allowed in tunnels, the only form of port-crossing that had

existed before the Key Bridge’s construction. The City of Baltimore has had a proprietary interest

in the Key Bridge since the Key Bridge’s construction.

        24.     Further, the Key Bridge’s western approach is located on Hawkins Point in the City

of Baltimore. In other words, all 30,000 of the daily commuters who used the 1.6 mile bridge

passed into or out of the City of Baltimore.

B.      The Vessel Destroys The Key Bridge

        25.     At approximately 12:45am, local time, on March 26, 2024, the Dali—a 985-foot

long Neopanamax container ship built in 2015 by Hyundai Heavy Industries—unmoored from the

Port of Baltimore. Its next port of call was to be Sri Lanka, where it was scheduled to arrive by

April 22, 2024.

        26.     Hours before departing, reporting has indicated that alarms went off on the Dali’s

refrigerated containers, showing that the Dali had been experiencing an inconsistent power

supply. 6 On information and belief, the power supply problem was either not investigated or, if

investigated, not fixed. Approximately twelve minutes after leaving its dock, the Dali began to

turn toward the Key Bridge. Reporting has indicated that shortly thereafter, at approximately

1:24am, local time, the Dali’s onboard data recorder recorded audio of “numerous aural alarms.”

The onboard data recorder then briefly stopped recording, and then turned on again, using a




6
 Eric Tucker, et al., Ship that caused bridge collapse had apparent electrical issues while still docked, AP
source says, Associated Press (April 15, 2024), available at https://whyy.org/articles/baltimore-bridge-
collapse-ship-electrical-issues/

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redundant power source.7 On information and belief, this redundant power source was not

substantial enough to allow the crew of the Dali to regain control over the ship.

          27.    On information and belief, the Dali had suddenly lost power at about 1:24am, local

time. Adrift, and moving at approximately seven knots, without sufficient power for steering, it

drifted toward the Key Bridge. Upon information and belief, the Dali’s emergency diesel generator

either did not start, or did not provide the Dali with emergency power sufficient to allow it to avoid

alliding into the Key Bridge.

          28.    At approximately 1:28am, local time, the Dali slammed into the bridge, causing the

bridge’s immediate collapse into the harbor. Six people were killed, and all or nearly all

commercial traffic into and out of the Port of Baltimore ceased.

C.        The Allision Was A Direct Result Of Petitioners’ Negligence

          29.    In 2023, ocean carriers paid approximately 1,800 discrete calls to the Port of

Baltimore.8 On each such visit, those carriers entered and exited the Port by going underneath the

Key Bridge, meaning that in 2023 approximately 3,600 discrete trips were made underneath the

Key Bridge throughout the year.

          30.    Before March 26, 2024, no ship had struck the Key Bridge since 1980. Assuming

only 1,500 ports of call at the Port of Baltimore every year (i.e., 300 fewer calls than actually took

place in 2023), ships would have taken approximately 130,000 trips underneath the Key Bridge

prior to the Dali’s allision.

          31.    Petitioners’ negligence is, in other words, readily apparent, and no blame could

conceivably be lain at the City’s feet for the allision. Instead, the allision was a direct and


7
 https://www.cbsnews.com/news/francis-scott-key-bridge-collapse-timeline-911-call-dali-cargo-ship-
mayday-maps-construction-worker-recovery/
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    https://msa.maryland.gov/msa/mdmanual/01glance/html/port.html

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proximate result of Petitioners’ carelessness, negligence, gross negligence, and recklessness, and

as a result of the unseaworthiness of the Vessel.

       32.     Among their other acts and omissions, and on information and belief, Petitioners:

               a. Provided the Vessel with an incompetent crew that was inattentive to its duties;

               b. Provided the Vessel with a crew that failed to comply with local navigation

                    customs and/or usage;

               c. Provided the Vessel with a crew that improperly navigated the Vessel prior to

                    alliding with the Key Bridge;

               d. Provided the Vessel with a crew that lacked proper skill;

               e. Provided the Vessel with a crew that lacked proper training;

               f. Otherwise failed to properly man the Vessel;

               g. Failed to properly manage the Vessel and/or her crew;

               h. Failed to provide the Vessel with adequate policies and procedures;

               i.   Failed to implement policies, procedures, and training to ensure the safe

                    operation of the Vessel;

               j.   Failed to properly oversee their fleet to ensure that the Vessel was being

                    operated in accordance with company policies and procedures, principles of

                    good seamanship, and in accordance with all applicable laws and regulations;

               k. Provided a vessel with unseaworthy equipment, systems, and appurtenances;

               l.   Failed to properly maintain the Vessel in a reasonable manner;

               m. Failed to properly maintain and/or use the Vessel’s systems and appurtenances;

               n. Failed to properly maintain and/or use the Vessel’s engine;

               o. Failed to properly maintain and/or use the Vessel’s propulsion system;



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                 p. Failed to properly maintain and/or use the Vessel’s steering system;

                 q. Failed to properly equip the Vessel;

                 r. Failed to equip the Vessel with a properly functioning engine;

                 s. Failed to equip the Vessel with an engine that was suitable and reasonably fit

                       for its intended use;

                 t. Failed to timely eliminate known or knowable hazards;

                 u. Failed to timely rectify known or knowable deficiencies;

                 v. Failed to inspect the Vessel; and/or

                 w. Failed to comply with industry standards, customs, and practices;

          33.    The allision was the result of these, and other failures, acts, or omissions of

Petitioners and of the Vessel which may be shown at trial.

D.        The Destruction Of The Key Bridge Has Substantially Harmed Baltimore

          34.    Since the allision, the Port of Baltimore has ground to a halt. It may take years for

it to fully recover.

          35.    The Port of Baltimore had been one of the busiest ports in the United States. Long

understood to be an economic engine of the region, in 2023 the Baltimore Port District was

reported to have handled 111 billion pounds of international and domestic cargo.

          36.    The 2023 Economic Impact Study produced for the Maryland Port Administration

identified “51,365 direct, induced and indirect jobs” provided by the Port. Direct jobs refer to those

jobs that are generated directly by activities at the port itself—i.e., longshoremen, stevedores,

trucking firms, customhouse brokers, etc. The 2023 Economic Impact Study found that in 2023,

there were approximately 20,193 such “direct” jobs directly tied to port activities. 9


9
    2023 Economic Impact Study at 4.

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            37.   “Induced” jobs refer to those jobs which were supporting the local purchases made

by the 20,193 individuals holding direct jobs. Per the 2023 Economic Impact Study, “[s]hould the

direct jobs be lost from the economy, the induced jobs supported by the purchases of the direct

jobs would also be lost.” The study identified 23,950 such induced jobs.

            38.   Finally, there are “indirect jobs” tied to the Port, or those dependent upon the Port

of Baltimore’s $989 million of local and in-state purchases for, e.g., professional services, office

supplies, and other goods. The study identified 7,223 such “indirect jobs.”

            39.   As the 2023 Economic Impact Study explained, the economic activity created by

the Port of Baltimore was substantial, varied, and hugely beneficial to local municipalities like the

City:




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10
     Id. at 8.

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           40.   Recent estimates indicate that the Port of Baltimore generated over $70 billion of

economic value in 2023 alone, including billions of dollars in yearly tax revenue for government

entities, including the City of Baltimore.11

           41.   In other words, Petitioners have harmed the City of Baltimore both directly, through

its destruction of property in which the City has a longstanding proprietary interest—including but

not limited to the Key Bridge and its approaches—and through the foreseeable impacts of that

destruction. That damage includes, but is not limited to:

                 a. The cost of replacement of the Key Bridge and the Key Bridge’s approaches,
                    including costs associated with the design, development, and construction of
                    the Bridge and its approaches and connecting roads;

                 b. Costs associated with the obstruction of the Patapsco River, which directly
                    resulted from the allision;

                 c. Costs associated with the interruption of transportation through the City of
                    Baltimore;

                 d. Costs associated with an increased need for road maintenance and traffic
                    management, to account for the increased traffic traveling through the City
                    which previously would have traveled over the Key Bridge;

                 e. Costs associated with increased and substantial expenditures relating to the
                    protection of public welfare, including but not limited to increased expenditures
                    on police, fire, and other public employees’ overtime;

                 f. Costs associated with the loss of taxes and fees levied on the business, including
                    the import and export of trade goods, the loading and unloading of cargo from
                    vessels, and in general, the operation of trade at the Port of Baltimore, which
                    has been significantly curtailed and reduced by the inability of ships to move in
                    and out of the Port of Baltimore;

                 g. Costs associated with the City’s loss of property and income tax revenue due to
                    the substantial and foreseeable economic interruption caused by the allision;

                 h. Costs associated with the monitoring and cleanup of hazardous substances
                    and/or other debris that have been or will be deposited into the environment and
                    on property owned by the Claimant as a result of the allision;

11
     Id.

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               i.   Costs associated with abating the nuisance caused by the damage from the
                    allision and the depositing of significant known and unknown materials into the
                    Patapsco River;

               j.   Costs associated with removing the foreign materials deposited onto City
                    property as a direct result of the allision;

               k. Costs associated with monitoring, abating, and otherwise suffering the presence
                  of hazardous substances and other potential pollutants that have been stockpiled
                  as a direct result of the closure of the Port of Baltimore, resulting in the release
                  of hazardous substances, fugitive dust, and other contaminants into the
                  environment and on property owned by the Claimant, resulting in a nuisance
                  and trespass;

               l.   Costs associated with the public nuisance suffered by the City of Baltimore and
                    its citizens, who have had interrupted their enjoyment and use of the Key
                    Bridge, the Patapsco River, the Baltimore Harbor and associated waterways;
                    and

               m. Other damages and losses to Claimant’s proprietary interests that are daily
                  accruing as a direct and proximate result of the allision.

       42.     For all intents and purposes, Petitioners’ negligence caused them to destroy the Key

Bridge, and singlehandedly shut down the Port of Baltimore, a source of jobs, municipal revenue,

and no small amount of pride for the City of Baltimore and its residents.

       43.     Petitioners should be held to account.

                                       REQUEST FOR RELIEF

       WHEREFORE, Claimant, MAYOR AND CITY COUNCIL OF BALTIMORE, prays for

judgment against Petitioners, GRACE OCEAN PRIVATE LIMITED and SYNERGY MARINE

PTE LTD, as follows:

       a. The full amount of Claimant’s damages as may be proven at trial;

       b. Costs of suit;

       c. Attorney’s fees;

       d. Pre-judgment and post-judgment interest as allowed by law;

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      e. Injunctive relief;

      f. Punitive damages; and

      g. All other relief that this Court deems just and proper.



Dated: April 22, 2024                           Respectfully submitted,

                                                THE MAYOR AND CITY COUNCIL OF
                                                BALTIMORE, MARYLAND

                                                Ebony M. Thompson (Bar No. 18968)
                                                Baltimore City Solicitor

                                                _
                                                _______________________________
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                               Baltimore, Maryland




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                                CERTIFICATE OF SERVICE

       In compliance with Supplemental Federal Rule F(5), I HEREBY CERTIFY that on the

22nd day of April, 2024, I electronically filed the foregoing pleading with the Clerk of Court by

using the CM/ECF system which will send a notice of electronic filing to all counsel who are

CM/ECF participants.


                                                    ______________________________
                                                    Sara Gross (Bar No. 27704)
                                                    Chief Solicitor
                                                    Baltimore City Department of Law




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